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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE



United States of America

      v.                            Criminal No. 07-cr-151-01-PB

Yajaira Rosario



                                    ORDER

      Re: Document No. 26 , Motion to Withdraw

      Ruling:


Motion granted. The defendant shall, within 30 days, retain new
counsel and cause that counsel to file an appearance, inform the
court that the defendant intends to represent herself, or file a
motion for the appointment of counsel with a financial affidavit.
Attorney Cicilline shall personally notify the defendant of this
order and assist her in filing a motion for appointment of
counsel if she is unable to afford counsel.


                                            /s/ Paul Barbadoro
                                            Paul Barbadoro
                                            U.S. District Judge

Date:      November 9, 2007

cc:   Counsel of Record
